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                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                          TEXARKANA DIVISION


TERRANCE RABON and
KATHLEEN RABON                                                        PLAINTIFFS

VS.                           NO. 4:16-CV-4007 SOH

JOHN K. KIMANI;
TOLYN EXPRESS, LLC; and
JOHN DOES 1-6                                                       DEFENDANTS

SENTRY SELECT INSURANCE COMPANY                                     INTERVENOR


                      DEFENDANTS’ NOTICE OF APPEAL

        Pursuant to Federal Rule of Appellate Procedure 3(a), defendants John K.

Kimani and Tolyn Express, LLC, give notice of their appeal to the United States

Court of Appeals for the Eighth Circuit from the final judgment entered and filed of

record on November 1, 2017 (Doc. 79) and all interlocutory orders that are merged

in the final judgment.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which shall send notification of

such filing to the following:

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                                         /s/ Michael A. Thompson
                                         Michael A. Thompson




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